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 5     Attorneys for Debtor

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10                             UNITED STATES BANKRUPTCY COURT

11                             CENTRAL DISTRICT OF CALIFORNIA

12                                    SANTA ANA DIVISION

13
       In re:                                  )   Case No.: 8:16-bk-15018-CB
14                                             )
       MATTHEW DUBOIS                          )   Chapter 13
15                                             )
                     Debtor.                   )
16                                             )   RESPONSE TO TRUSTEE’S NOTICE
                                               )   AND VERIFIED MOTION FOR ORDER
17                                             )   DISMISSING CHAPTER 13
                                               )   PROCEEDINGS (11 U.S.C. – 1307(c))
18                                             )
                                               )   Hearing:
19                                             )   Date: October 11, 2018
                                               )   Time: 1:30 pm
20                                             )   Place: United States Bankruptcy Court
                                               )
                                               )   Central District of California
21
                                               )   Ronald Reagan Federal Building and
22                                             )   Courthouse
                                               )   411 West Fourth Street, Suite 5165 /
23                                             )   Courtroom 5D
                                               )
                                               )   Santa Ana, CA 92701-4593
24
                TO THE HONORABLE CATHERINE E BAUER, UNITED STATES
25
       BANKRUPTCY JUDGE; AMRANE COHEN (TR), THE CH. 13 TRUSTEE; AND ALL
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       INTERESTED PARTIES:
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 1            MATTHEW E. DUBOIS (“Debtor”) hereby respond to the Trustee’s NOTICE AND
 2     VERIFIED MOTION FOR ORDER DISMISSING CHAPTER 13 PROCEEDINGS (11 U.S.C. –
 3     1307(c)) that the Debtor sets for hearing on October 11, 2018 at 1:30 pm.
 4
                                         Brief History and Reply
 5
              1. The Chapter 13 Trustee filed NOTICE AND VERIFIED MOTION FOR ORDER
 6
                  DISMISSING CHAPTER 13 PROCEEDINGS (11 U.S.C. – 1307(c)) (“TMD”) on
 7
                  September 6, 2018 (Doc 85) for plan payment delinquency.
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              2. The TMD indicates that Debtor is delinquent $7,200.
 9
              3. Debtor will become current with the remaining amount due by the hearing, including
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                  any subsequent payment that comes due.
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12
              WHEREFORE, the Debtor respectfully requests that the TMD be denied and for any other
13
       relief that the Court deems just and proper.
14

15
              DATED: September 11, 2018
16
                                                              Respectfully Submitted,
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18                                                            /s/ Andy C. Warshaw
                                                              Andy C. Warshaw
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                                                              FINANCIAL RELIEF LAW CENTER, APC
20                                                            Attorneys for Debtor

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